UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------                                         X
     JANE DOE, LUKE LOE, RICHARD ROE, and
     MARY MOE, individually and on behalf of all
                                                                                                1:18 Civ. 9936 (LGS)
     others similarly situated,                                                                    FIFTH
                                   Plaintiffs,                                                     -------- Amended
                                                                                                   Fourth
               V.                                                                                   CIVIL CASE
                                                                                               MANAGEMENT PLAN
     THE TRUMP CORPORATION, DONALD J.                                                           AND SCHEDULING
     TRUMP, in his personal capacity,                                                                   ORDER
     DONALD TRUMP JR., ERIC TRUMP, and
     IVANKA TRUMP,
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - -Defendants.
                                                          - - - - - - - - - - - - - - - - :X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(t)(3).

1.        All parties [consent_ _ _ / do not consent X ] to conducting all further
          proceedings before a United States Magistrate Judge, including motions and trial. See
          28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
          consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.        The parties [have            X       / have not_ _           ]     conferred pursuant to Fed. R. Civ. P. 26(t).

3.        This case is governed by one of the following sets of rules, and the parties' proposed
          dates in this order have been adjusted accordingly.

          a.         An employment case governed by the Initial Discovery Protocols for Employment
                     cases?
                     [Yes _ _ -'/ No X ]

          b.         A case governed by Local Civil Rule 83.10, Plan for Certain§ 1983 Cases
                     Against the City ofNew York?
                     [Yes _ _    /No     X   ]

          c.         A patent case subject to the Local Patent Rules and the Court's Individual Rules?
                     [Yes _ _ -'/ No      X ]

          d.         A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                     Standards Act?
                     [Yes _ _ -'/ No     x    ]
4.   Alternative Dispute Resolution/Settlement

     a.     Settlement discussions [have _ _          --'/ have not    X     l taken place.
     b.     Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following:
            NIA




     c.     Counsel for the parties have discussed the use of the following alternate dispute
            resolution mechanisms for use in this case: (i) a settlement conference before a
            Magistrate Judge; (ii) participation in the District's Mediation Program; and (iii)
            retention of a private mediator. Counsel for the parties propose the following
            alternate dispute resolution mechanism for this case:
            The Parties have discussed the possibility of early settlement. The Parties agree that the
            possibility of early settlement is unlikely, and that discussion of the form or timing of
            alternative dispute resolution is premature at this stage of the litigation.

     d.     Counsel for the parties recommend that the alternate dispute resolution
            mechanism designated in paragraph 4( c) be employed at the following point in the
            case (e.g., within the next 60 days; after the deposition of plaintiff is completed
            (specify date); after the close of fact discovery):
            NIA




     e.     The use of any alternative dispute resolution mechanism does not stay or
            modify any date in this Order.

5.   No additional parties may be joined after 21 days following service by Defendants of a
     pleading responsive to the Complaint or a motion under Rule 12(b). (e). or ( f ) without
     leave of Court.

6.   Amended pleadings may be filed without leave of Court until 21 days following service by
     Defendants of a pleading responsive to the Complaint or a motion under Rule 12(b). (e). or
     (f).

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(l) shall be completed no later than the
     parties exchanged initial disclosures on December 10, 2018 days from the date of
     this Order.



                                                  2
          8.       Fact Discovery

                   a.     Defendants shall file their Answer no later than October 22, 2019.
The deadlines in                                                              ------------------
                                                                              April  29, 2022 June 29, 2022
paragraphs 8(c)    b.     All fact discovery shall be completed no later than May   27, 2022.
                                                                              XXXXXXXXXX
through 8(g) may
be extended by     c.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34
the written               shall be served by September 26, 2019.
consent of all
parties provided   d.     Responses and Objections should be served by November 26, 2019.
that all fact
discovery is
completed by       e.     Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
June 29, 2022.            November 4, 2019.

                   f.     Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                          XXXXXXXXXXX
                          May 27, 2022.April 29, 2022.

                   g.     Initial requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                          January 3, 2020.

                   h.     Any of the deadlines in paragraphs (c) through (g) may be extended by thewritten
                          consent of all parties without application to the Court, provided that all fact
                          discovery is completed by the date set forth in paragraph (b ).

          9.       Expert Discovery [if applicable]

                   a.     Anticipated types of experts if any:
                          Accounting experts, experts regarding the ACN business opportunity; structural economists,
                          econometrics, and damages experts; experts regarding class certification issues; experts
                          regarding the direct selling and/or multi-level marketing industries; and any other type of
                          expert that any party shall reasonably notice to the opposing side.
                                                                                               December 19, 2022
                                                                                        -------------------------
                                                                                         November 18, 2022.
                   b.     All expert discovery shall be completed no later than XXXXXXXXXXXXXXXXXX
                                                                                         December 16, 2022.

                   c.     Counsel for the parties have conferred regarding a schedule for expert
                          disclosures and depositions to be completed by the date set forth in
                          paragraph 9(b ).


          10.      This case [is   X    / is not_ _    __,] to be tried to a jury.

          11.      Counsel for the parties have conferred and their present best estimate of the length of trial
                   is two to four weeks.

          12.      Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
                   Fed. R. Civ. P. 26(f)(3), are set forth below:


                                                               3
13.   Status Letters and Conferences
                  September 27, 2021              30
      a.          XXXXXXXXXXXXX
              By October     28, 2019 and every 45XX days after, the parties shall submit a joint
              status letter, as outlined in Individual Rule IV.A.2.
                  February
      b.          ---------- 13, 2023, the parties shall submit a joint status letter, as outlined in
              By January
              Individual Rule IV .A.2 and, in the event that they have not already been referred
              for settlement discussions, shall also advise the Court whether or not they request
              a referral for settlement discussions as provided in Paragraph 4( c) above. Such
              status letter also shall address the timing of a pre-motion conference for any
              anticipated dispositive motions.

      C.      On a date to be set by the Court following submission of the January 13, 2023
              status letter, a pre-motion conference will be held for any anticipated
              dispositivemotions, provided:

                   1.   A party wishing to file a summary judgment or other dispositive motion
                        shall file a pre-motion letter at least two weeks before the conference and
                        in the form provided in the Court's Individual Rule 111.A.1. Any party
                        wishing to oppose shall file a responsive letter as provided in the same
                        Individual Rule. The motion will be discussed at the conference. To join
                        the conference, the parties shall call (888) 363-4749 and use Access Code
                        558-3333. The time of the conference is approximate, but the parties shall
                        be ready to proceed at that time.

                  11.   I f no pre-motion letter is timely filed, this conference will be canceled
                        and the matter placed on the Court's trial-ready calendar. The parties
                        will be notified of the assigned trial-ready date and the filing deadlines for
                        pretrial submissions. The parties are warned that any settlement
                        discussions will not stay pretrial deadlines or the trial date.

14.   Class Certification
                                                                               February66, 2023
      a.      Plaintiffs shall file any motion for class certification by January       XX
                                                                                         27, 2023
                                                                               ----------------------
                                                        February     24,
                                                         ---------------    March    24,  2023
      b.      Defendants shall file any opposition by March
                                                          XXXXXXX  17, -------
                                                                       2023

      C.      Plaintiffs shall file any reply in support of their motion for class certification by
              April 14, -------
             XXXXXXX       2023
             -------------
             March    24, April 23, 2023




                                                     4
  This Order may not be modified or the dates herein extended, except as provided in paragraph
8(f) or by further Order of this Court for good cause shown. Any application to modify or extend
the dates herein, except as provided in paragraph 8(f), shall be made in a written application in
accordance with the Court's Individual Rules and shall be made no lessthan 2 business days prior
to the expiration of the date sought to be extended.

          The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c)
  13(a)-(c), and 14(a)-(c) into the Court's calendar.



         SO ORDERED.


  Dated: January 13, 2022
          New York, New York

                                                                LORNA G. SCHOFIELD
                                                                United States District Judge




                                                    5
